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8                              UNITED STATES DISTRICT COURT
9        FOR THE CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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11   UNITED STATES OF AMERICA,                     No. 8:17-cv-00324-CJC-E
12               Plaintiff,
                        v.                         CONSENT JUDGMENT OF
13
                                                   FORFEITURE (DKT. 50)
14   $52,427.56 IN FUNDS HELD IN U.S.
     BANK ACCOUNT ‘9198, et al.,
15
                 Defendants.
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     LOUAI KHAYAT, SAFEIA
18   KHAYAT, AND IYAD KHAYAT,
19                Claimants.
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21         Plaintiff United States of America and Claimants Louai Khayat, Safeia Khayat,
22   and Iyad Khayat (collectively, the “Claimants”) have made a stipulated request for the
23   entry of this Consent Judgment, resolving this action in its entirety.
24         The Court, having considered the stipulation of the parties, and good cause
25   appearing therefor, HEREBY ORDERS, ADJUDGES AND DECREES:
26         1.     This Court has jurisdiction over the parties and the subject matter of this
27   action.
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1           2.     The government has given and published notice of this action as required by
2    law, including Supplemental Rule G for Admiralty or Maritime Claims and Asset
3    Forfeiture Actions, Federal Rules of Civil Procedure, and the Local Rules of this Court.
4    The Claimants filed claims and answers and the time for filing claims and answers has
5    expired. All potential claimants to the defendants $52,427.56 in Funds Held in U.S.
6    Bank Account ‘9198, $20,476.79 in Funds Held in U.S. Bank Account ‘4088 and
7    $25,815.85 in Funds Held in Wells Fargo Bank Account ‘3933 (collectively, the
8    “defendants”), other than Claimants, are deemed to have admitted the allegations of the
9    Complaint. The allegations set out in the Complaint are sufficient to establish a basis
10   for forfeiture.
11          3.     $5,000.00 of defendant $52,427.56 in Funds Held in U.S. Bank Account
12   ‘9198, without interest, shall be returned to Claimants through their counsel. The United
13   States Marshals Service shall release said funds by wire transfer to Claimants’ counsel,
14   who shall provide the information necessary to make the wire transfer (including bank
15   account and routing information) forthwith. Claimants and their attorney shall provide
16   any and all information, including personal identifiers, needed to process the return of
17   these funds according to federal law. The United States Marshals Service shall make the
18   transfer within 60 days of the entry of this judgment or its receipt of the necessary
19   information, whichever is later.
20          4.     The United States of America shall have judgment as to the remainder of
21   the defendants and all interest earned on the entirety of the defendants since seizure, and
22   no other person or entity shall have any right, title or interest therein. The United States
23   is ordered to dispose of the said defendants and interest earned in accordance with law.
24          5.     The Court finds that there was reasonable cause for the seizure of the
25   defendants and institution of these proceedings. This consent judgment shall be
26   construed as a certificate of reasonable cause pursuant to 28 U.S.C. § 2465.
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1          6.     Each of the parties shall bear its own fees and costs in connection with the
2    seizure and retention of the defendants.
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4       DATED: November 20, 2020
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7                                                 HON. CORMAC J. CARNEY

8                                               UNITED STATES DISTRICT JUDGE
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